                       CASE 0:18-cv-01616-NEB-HB Document 3 Filed 06/11/18 Page 1 of 6

AO 440 (Rev. 02/09) Summons in a Civil Action




                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                           District of Minnesota


Scott Talcott,

                                                    Plaintiff,

v.                                                                            Case No. 0:18−cv−01616−DWF−HB

First Contact, LLC, et al.,

                                                    Defendant.




                                                   SUMMONS IN A CIVIL ACTION

To: iEnergizer Holdings, Limited


         A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R.
Civ. P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12
of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

                                     Mark L Heaney
                                     601 Carlson Parkway
                                     Ste 1050
                                     Minnetonka, MN
                                     55305

If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.

KATE FOGARTY, CLERK OF COURT                                 By:




                                                                   Lynnette Brennan


Date of Issuance: June 11, 2018
                       CASE 0:18-cv-01616-NEB-HB Document 3 Filed 06/11/18 Page 2 of 6

AO 440 (Rev. 02/09) Summons in a Civil Action



                                                Summons and Complaint Return of Service
                                                                        Case No. 0:18−cv−01616−DWF−HB



A copy of the Summons and Complaint has been served in the manner indicated below:

Name of Defendant Served:                            iEnergizer Holdings, Limited

Date of Service:



                                                             Method of Service

         Personally served at this address:




         Left copies at defendant's usual place of abode with (name of person):




         Other (specify):




         Returned unexecuted (reason):




Service Fees:                  Travel $              Service $          Total $



                                                           Declaration of Server

I declare under the penalty of perjury that the information contained in this Return of Service is true and correct.

Name of Server:

Signature of Server:

Date:

Server's Address:
                       CASE 0:18-cv-01616-NEB-HB Document 3 Filed 06/11/18 Page 3 of 6

AO 440 (Rev. 02/09) Summons in a Civil Action




                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                           District of Minnesota


Scott Talcott,

                                                    Plaintiff,

v.                                                                            Case No. 0:18−cv−01616−DWF−HB

First Contact, LLC, et al.,

                                                    Defendant.




                                                   SUMMONS IN A CIVIL ACTION

To: Credit One Bank, N.A.


         A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R.
Civ. P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12
of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

                                     Mark L Heaney
                                     601 Carlson Parkway
                                     Ste 1050
                                     Minnetonka, MN
                                     55305

If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.

KATE FOGARTY, CLERK OF COURT                                 By:




                                                                   Lynnette Brennan


Date of Issuance: June 11, 2018
                       CASE 0:18-cv-01616-NEB-HB Document 3 Filed 06/11/18 Page 4 of 6

AO 440 (Rev. 02/09) Summons in a Civil Action



                                                Summons and Complaint Return of Service
                                                                       Case No. 0:18−cv−01616−DWF−HB



A copy of the Summons and Complaint has been served in the manner indicated below:

Name of Defendant Served:                            Credit One Bank, N.A.

Date of Service:



                                                            Method of Service

         Personally served at this address:




         Left copies at defendant's usual place of abode with (name of person):




         Other (specify):




         Returned unexecuted (reason):




Service Fees:                  Travel $              Service $          Total $



                                                          Declaration of Server

I declare under the penalty of perjury that the information contained in this Return of Service is true and correct.

Name of Server:

Signature of Server:

Date:

Server's Address:
                       CASE 0:18-cv-01616-NEB-HB Document 3 Filed 06/11/18 Page 5 of 6

AO 440 (Rev. 02/09) Summons in a Civil Action




                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                           District of Minnesota


Scott Talcott,

                                                    Plaintiff,

v.                                                                            Case No. 0:18−cv−01616−DWF−HB

First Contact, LLC, et al.,

                                                    Defendant.




                                                   SUMMONS IN A CIVIL ACTION

To: First Contact, LLC


         A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R.
Civ. P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12
of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

                                     Mark L Heaney
                                     601 Carlson Parkway
                                     Ste 1050
                                     Minnetonka, MN
                                     55305

If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.

KATE FOGARTY, CLERK OF COURT                                 By:




                                                                   Lynnette Brennan


Date of Issuance: June 11, 2018
                       CASE 0:18-cv-01616-NEB-HB Document 3 Filed 06/11/18 Page 6 of 6

AO 440 (Rev. 02/09) Summons in a Civil Action



                                                Summons and Complaint Return of Service
                                                                          Case No. 0:18−cv−01616−DWF−HB



A copy of the Summons and Complaint has been served in the manner indicated below:

Name of Defendant Served:                            First Contact, LLC

Date of Service:



                                                             Method of Service

         Personally served at this address:




         Left copies at defendant's usual place of abode with (name of person):




         Other (specify):




         Returned unexecuted (reason):




Service Fees:                  Travel $              Service $            Total $



                                                           Declaration of Server

I declare under the penalty of perjury that the information contained in this Return of Service is true and correct.

Name of Server:

Signature of Server:

Date:

Server's Address:
